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EXHIBIT Q
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June 14, 2017

Via E-FILE

Hon. Louis Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: Dardashtian, et al. v. Gitman, et al., Case No.:_17-cv-4327 (LLS)
Dear Judge Stanton:

We represent defendants David Gitman, Dalva Ventures, LLC, and Channel Reply, Inc.
(the "Defendants") in the above-referenced matter. We write in response to plaintiffs’ letter
dated June 13, 2017 (the "June 13 Letter"). For the reasons set forth herein, Defendants have
complied with the Temporary Restraining Order entered by the Hon, Edgardo Ramos, U.S.D.J.,
on June 8, 2017 and thereafter amended by Judge Ramos on June 9, 2017 (the "TRO").
Accordingly, no emergent hearing is necessary in this matter and Defendants will oppose the
plaintiffs' preliminary injunction application in the time frame and at the June 21st hearing
scheduled by Your Honor's clerk yesterday.

As set forth in the Certification of David Gitman dated June 13, 2017, Defendants have
fully complied with the TRO. Furthermore, for the reasons set forth below, and contrary to the
plaintiffs' claims, Mr. Gitman is not in violation of paragraphs (g), (h), or (b) of the TRO.

1. Defendant Gitman has complied with Paragraph (g) of the TRO

As set forth in the spreadsheet provided to plaintiffs' counsel on June 9, 2017, Mr.
Gitman has restored Mr. Dardashtian's access to all accounts owned by NDAP, LLC ("NDAP"),
Cooper Square Ventures, LLC ("CSV"), and ChannelReply, LLC ("CR LLC"). Plaintiffs
incorrectly argue in the June 13 Letter that they are entitled to access to accounts owned by
defendant Channel Reply, Inc. ("CR Inc."). These are new accounts of CR Inc and, as such,
there is nothing to restore. Furthermore, the NDAP and CSV accounts are listed as assets to be
transferred in connection with an asset purchase agreement with respect to Buy Auto Parts
("BAP"). Accordingly, these accounts were in the process of separating from NDAP and CSV
for many months, which Mr. Dardashtian has had full knowledge of. Attached hereto as Exhibit
A are e-mail communications from April 6, 2017 concerning the BAP deal and the transfer of
such accounts in connection with BAP asset purchase.
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2. Defendant Gitman has complied with Paragraph (h) of the TRO and has not
destroyed any evidence.

Plaintiffs' contention that plaintiffs’ access to TimeDoctor was not restored following the
entry of the TRO is false. Plaintiffs have full access to TimeDoctor -- which is a payroll
software, and has never been used for sensitivity, secrecy, or confidentiality as plaintiffs allege.
CR LLC's current TimeDoctor account was opened on April 20, 2017 in preparation for the BAP
sale. This version of TimeDoctor, which plaintiffs have always had access to, contains two years
worth of data. However, on June 9, 2017, Mr. Gitman was informed by Konstantyn Bagiev that
there had been an unauthorized access to the TimeDoctor account. After working with
TimeDoctor technical support, Mr. Gitman informed Mr. Bagiev and Mr. Glukharev to stop
using TimeDoctor as the account could not be secured without changing passwords, which was
prohibited by the TRO. Accordingly, Mr. Gitian did not destroy or delete anything related to

TimeDoctor.

3. Defendant Gitman has complied with Paragraph (b) of the TRO.

Mr. Gitman has transferred a total of $74,052.53 into the CSV Bank of America account
in full compliance with the TRO. This $74,052.53 includes the original transfer of $73,982.53
and $50 in overdraft fees. The $5,060 that was thereafter transferred was for a payment for work
performed in connection with the BAP deal -- 100% unrelated to any work performed in
connection with this matter.

Lastly, plaintiffs’ request to have Mr. Joel Lieberman, CPA serve as a “neutral third-
party" to manage the plaintiff companies is improper and should not be entertained by this Court
as the plaintiffs have failed to inform the Court that Mr. Lieberman is not independent or
"neutral," and is instead Mr. Dardashtian’s personal accountant.

Respectfully submitted,
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EXHIBIT A

 

 
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Reply “>

 
